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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW JERSEY
                                    TRENTON VICINAGE

In re:                                                         Case No. 12-21455 / MBK
         Linda J Iannone

                     Debtor(s)


          CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Albert Russo, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 05/01/2012, and was converted to chapter 13 on 03/14/2014.

         2) The plan was confirmed on 06/09/2015.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

         4) The trustee filed action to remedy default by the debtor in performance under the plan on
NA .

         5) The case was completed on 06/10/2015.

         6) Number of months from filing to last payment: 15.

         7) Number of months case was pending: 18.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $31,900.00.

         10) Amount of unsecured claims discharged without payment: $13,454.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

           Total paid by or on behalf of the debtor               $39,320.49
           Less amount refunded to debtor                          $4,855.42

NET RECEIPTS:                                                                                     $34,465.07


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                    $2,550.00
    Court Costs                                                                  $0.00
    Trustee Expenses & Compensation                                          $1,599.64
    Other                                                                    $2,650.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                   $6,799.64

Attorney fees paid and disclosed by debtor:                     $1,750.00


Scheduled Creditors:
Creditor                                             Claim       Claim           Claim      Principal     Int.
Name                                  Class        Scheduled    Asserted        Allowed       Paid        Paid
BUREAUS INVEST MENT GROUP PO       Unsecured        10,796.00    11,742.63      11,742.63    11,742.63      0.00
Capital One                        Unsecured         6,084.00          NA             NA          0.00      0.00
CAVALRY PORT FOLIO SERVICES, L     Unsecured         4,381.00     4,399.37       4,399.37     4,399.37      0.00
Edison Imaging Associates          Unsecured           227.00          NA             NA          0.00      0.00
Hudson City Savings Bank           Secured         248,390.00          NA             NA          0.00      0.00
Hudson Primary Care Associates     Unsecured            10.00          NA             NA          0.00      0.00
INT ERNAL REVENUE SERVICE          Unsecured              NA     51,189.01           0.00         0.00      0.00
KESSLER INST IT UT E FOR REHABIL   Unsecured           167.00       165.91         165.91       165.91      0.00
Medical Payment Data               Unsecured           176.00          NA             NA          0.00      0.00
MRI OF Woodbridge, LLC             Unsecured           234.00          NA             NA          0.00      0.00
NJ DIVISION OF T AXAT ION          Secured           6,500.00         0.00       1,337.00     1,337.00      0.00
NJ DIVISION OF T AXAT ION          Unsecured              NA        557.62         557.62       557.62      0.00
OAK HARBOR CAPIT AL, LLC           Unsecured         1,826.00     2,168.01       2,168.01     2,168.01      0.00
OAK HARBOR CAPIT AL, LLC           Unsecured         2,041.00     1,066.84       1,066.84     1,066.84      0.00
Orchard Bank                       Unsecured         4,180.00          NA             NA          0.00      0.00
PORT FOLIO RECOVERY ASSOCIAT E     Unsecured         6,228.00     6,228.05       6,228.05     6,228.05      0.00
Rahway Anesthesiologists, PA       Unsecured         1,260.00          NA             NA          0.00      0.00
T heodore Kwiatkowski, DMD         Unsecured         1,283.00          NA             NA          0.00      0.00




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 Summary of Disbursements to Creditors:
                                                                 Claim          Principal           Interest
                                                              Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00              $0.00               $0.00
       Mortgage Arrearage                                      $0.00              $0.00               $0.00
       Debt Secured by Vehicle                                 $0.00              $0.00               $0.00
       All Other Secured                                   $1,337.00          $1,337.00               $0.00
 TOTAL SECURED:                                            $1,337.00          $1,337.00               $0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                             $0.00               $0.00             $0.00
         Domestic Support Ongoing                               $0.00               $0.00             $0.00
         All Other Priority                                     $0.00               $0.00             $0.00
 TOTAL PRIORITY:                                                $0.00               $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                              $26,328.43         $26,328.43               $0.00

Disbursements:

         Expenses of Administration                              $6,799.64
         Disbursements to Creditors                             $27,665.43

TOTAL DISBURSEMENTS :                                                                        $34,465.07


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
estate has been fully administered, the foregoing summary is true and complete, and all administrative
matters for which the trustee is responsible have been completed. The trustee requests a final decree be
entered that discharges the trustee and grants such other relief as may be just and proper.

Dated: 09/11/2015
                                               By: /s/ Albert Russo
                                                                          Trustee
STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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